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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOLDINGS LLC,                                )   Case No. 24-90061 (MI)
                                                        )
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
ALCATRAZ CRUISES, LLC,                                  )   Case No. 24-90062 (MI)
                                                        )
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
ALCATRAZ FLEET, LLC,                                    )   Case No. 24-90063 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
ALCATRAZ FREEDOM, LLC,                                  )   Case No. 24-90066 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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                                                        )
In re:                                                  )   Chapter 11
                                                        )
ALCATRAZ ISLAND SERVICES, LLC,                          )   Case No. 24-90075 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
AMERICAN COUNTESS, LLC,                                 )   Case No. 24-90080 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
AMERICAN DUCHESS, LLC,                                  )   Case No. 24-90082 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
AMERICAN QUEEN HOLDCO, LLC,                             )   Case No. 24-90086 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
AMERICAN QUEEN HOLDINGS, LLC,                           )   Case No. 24-90095 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
AMERICAN QUEEN STEAMBOAT OPERATING                      )   Case No. 24-90100 (MI)
COMPANY, LLC,                                           )
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
AMERICAN QUEEN SUB, LLC,                                )   Case No. 24-90104 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
ANCHOR MEXICO HOLDINGS, LLC,                            )   Case No. 24-90108 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
ANCHOR OPERATING SYSTEM, LLC,                           )   Case No. 24-90113 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
ASG ADVISORS, LLC,                                      )   Case No. 24-90119 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
BABARUSA, LLC,                                          )   Case No. 24-90124 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
BAY STATE, LLC,                                         )   Case No. 24-90126 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
BOOTH PRIMARY, LLC,                                     )   Case No. 24-90132 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )
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In re:                                                  )   Chapter 11
                                                        )
BOSTON HARBOR CRUISES, LLC,                             )   Case No. 24-90137 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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CHOI ADVISORY, LLC,                                     )   Case No. 24-90138 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
CITY CRUISES CAFE, LLC,                                 )   Case No. 24-90064 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
CITY CRUISES LTD.,                                      )   Case No. 24-90072 (MI)
                                                        )
                    Debtor.                             )
                                                        )
Tax I.D. No. 888886772                                  )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
CITY FERRY TRANSPORTATION SERVICES,                     )   Case No. 24-90081 (MI)
LLC                                                     )
               Debtor.                                  )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
COLUGO LINER, LLC,                                      )   Case No. 24-90085 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )
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In re:                                                  )   Chapter 11
                                                        )
CRUISING EXCURSIONS LTD.,                               )   Case No. 24-90089 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. 888886773                                  )




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In re:                                                  )   Chapter 11
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CRUISING EXCURSIONS TRANSPORT LTD.,                     )   Case No. 24-90094 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. 888886774                                  )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
EON PARTNERS, LLC,                                      )   Case No. 24-90099 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
FALLS MER, LLC,                                         )   Case No. 24-90105 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )
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In re:                                                  )   Chapter 11
                                                        )
FERRYBOAT SANTA ROSA, LLC,                              )   Case No. 24-90109 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
GHARIAN HOLDINGS, LLC,                                  )   Case No. 24-90112 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )




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In re:                                                  )   Chapter 11
                                                        )
GOURD MANAGEMENT, LLC,                                  )   Case No. 24-90118 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. N/A                                        )
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In re:                                                  )   Chapter 11
                                                        )
HBAQ HOLDINGS, LLC,                                     )   Case No. 24-90122 (MI)
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                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HBAQ HOLDINGS, LP,                                      )   Case No. 24-90125 (MI)
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                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HMS AMERICAN QUEEN STEAMBOAT COMPANY, LLC,              )   Case No. 24-90131 (MI)
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                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HMS FERRIES, INC.,                                      )   Case No. 24-90141 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HMS FERRIES – PUERTO RICO, LLC,                         )   Case No. 24-90136 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HMS GLOBAL MARITIME, INC.,                              )   Case No. 24-90144 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HMS GLOBAL MARITIME, LLC,                               )   Case No. 24-90101 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HMS VESSEL HOLDINGS, LLC,                               )   Case No. 24-90106 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HMS-ALABAMA. INC.,                                      )   Case No. 24-90115 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HMS-OKLAHOMA, INC.,                                     )   Case No. 24-90120 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HMS-WESTPAC, INC.,                                      )   Case No. 24-90130 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HNY FERRY, LLC,                                         )   Case No. 24-90146 (MI)
                                                        )
                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HNY FERRY II, LLC,                                      )   Case No. 24-90142 (MI)
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                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HNY FERRY FLEET, LLC,                                   )   Case No. 24-90134 (MI)
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                    Debtor.                             )
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Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CABLE CARS, INC.,                            )   Case No. 24-90151 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADA CO.,                                  )   Case No. 24-90068
                                                        )
                     Debtor.                            )
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Tax I.D. No. 85107 4716 RT0001                          )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADA ENTERTAINMENT LTD.,                   )   Case No. 24-90071 (MI)
                                                        )
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                     Debtor.                            )
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Tax I.D. No. 888886775                                  )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CANADIAN HOLDINGS, INC.,                     )   Case No. 24-90078 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CONSULTING, LLC,                             )   Case No. 24-90155 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CRUISE HOLDINGS, LLC,                        )   Case No. 24-90154 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CRUISES AND EVENTS, INC.,                    )   Case No. 24-90087 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER CRUISES AND EVENTS, LLC,                     )   Case No. 24-90149 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER CRUISES AND EVENTS CANADA LTD.,              )   Case No. 24-90092 (MI)
                                                        )
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                     Debtor.                            )
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Tax I.D. No. 106568447                                  )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER DEVELOPMENT, LLC,                            )   Case No. 24-90076 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER ENERGY, LLC,                                 )   Case No. 24-90088 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FACILITY OPERATIONS, LLC,                    )   Case No. 24-90097 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FERRY HOLDINGS, LLC,                         )   Case No. 24-90117 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FERRY HOLDINGS II, LLC,                      )   Case No. 24-90107 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FLEET, LLC,                                  )   Case No. 24-90127 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER FREEDOM, LLC,                                )   Case No. 24-90140 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP, INC.,                                 )   Case No. 24-90067 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP, LLC,                                  )   Case No. 24-90157 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER GROUP HOLDCO, LLC,                           )   Case No. 24-90147 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOLDCO, LLC,                                 )   Case No. 24-90160 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER HOLDINGS LP,                                 )   Case No. 24-90162 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER HOSPITALITY SERVICES, LLC,                   )   Case No. 24-90163 (MI)
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                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER INDIA HOLDINGS, LLC,                         )   Case No. 24-90161 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER METRO FERRY, LLC,                            )   Case No. 24-90159 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER METRO FLEET, LLC,                            )   Case No. 24-90158 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER METRO HOLDINGS, LLC,                         )   Case No. 24-90156 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER MUNICIPAL OPERATIONS, LLC,                   )   Case No. 24-90069 (MI)
                                                        )
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                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER NEW YORK, LLC,                               )   Case No. 24-90074 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER SHIPYARD, LLC,                               )   Case No. 24-90079 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
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HORNBLOWER SUB, LLC,                                    )   Case No. 24-90084 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER UK HOLDINGS LTD.,                            )   Case No. 24-90091 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. 888886779                                  )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
HORNBLOWER YACHTS, LLC,                                 )   Case No. 24-90096 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
JJ AUDUBON, LLC,                                        )   Case No. 24-90102 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
JOURNEY BEYOND HOLDINGS, LLC,                           )   Case No. 24-90110 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
LIBERTY CRUISES, LLC,                                   )   Case No. 24-90114 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )




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In re:                                                  )   Chapter 11
                                                        )
LIBERTY FLEET, LLC,                                     )   Case No. 24-90121 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
LIBERTY HOSPITALITY, LLC,                               )   Case No. 24-90128 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
LIBERTY LANDING FERRIES, LLC,                           )   Case No. 24-90133 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
LYMAN PARTNERS, LLC,                                    )   Case No. 24-90139 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
MADISON UNION, LLC,                                     )   Case No. 24-90143 (MI)
                                                        )
                     Debtor.                            )
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Tax I.D. No. N/A                                        )




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In re:                                                  )   Chapter 11
                                                        )
MISSION BAY WATER TRANSIT, LLC,                         )   Case No. 24-90153 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
MISSION BAY WATER TRANSIT FLEET, LLC,                   )   Case No. 24-90148 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
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In re:                                                  )   Chapter 11
                                                        )
ORANE PARTNERS, LLC,                                    )   Case No. 24-90150 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. N/A                                        )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
SAN FRANCISCO PIER 33, LLC,                             )   Case No. 24-90065 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
SEA OPERATING COMPANY, LLC,                             )   Case No. 24-90070 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
SEAWARD SERVICES, INC.,                                 )   Case No. 24-90073 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE CRUISES, LLC,                                    )   Case No. 24-90077 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY IV, LLC,                              )   Case No. 24-90083 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY V, LLC,                               )   Case No. 24-90090 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
STATUE OF LIBERTY VI, LLC,                              )   Case No. 24-90093 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
TCB CONSULTING, LLC,                                    )   Case No. 24-90098 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VENTURE ASHORE, LLC,                                    )   Case No. 24-90103 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY HOLDINGS I, LLC,                                )   Case No. 24-90111 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY HOLDINGS II, LLC,                               )   Case No. 24-90116 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
VICTORY OPERATING COMPANY, LLC,                         )   Case No. 24-90123 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )




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                                                        )
In re:                                                  )   Chapter 11
                                                        )
WALKS, LLC (DEL.),                                      )   Case No. 24-90135 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
WALKS, LLC (TEX.),                                      )   Case No. 24-90060 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
WALKS OF NEW YORK TOURS, LLC,                           )   Case No. 24-90129 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
YARDARM CLUB (THE) LTD.,                                )   Case No. 24-90145 (MI)
                                                        )
                     Debtor.                            )
                                                        )
Tax I.D. No. XX-XXXXXXX                                 )
                                                        )
In re:                                                  )   Chapter 11
                                                        )
YORK RIVER BOAT CRUISES LIMITED                         )   Case No. 24-90152 (MI)
                                                        )
                     Debtor.                            )   (Emergency Hearing Requested)
                                                        )
Tax I.D. No. 888886780                                  )




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               DEBTORS’ EMERGENCY MOTION FOR ENTRY
          OF AN ORDER (I) DIRECTING JOINT ADMINISTRATION OF
      RELATED CHAPTER 11 CASES AND (II) GRANTING RELATED RELIEF

       Emergency relief has been requested. Relief is requested not later than 5:00 p.m. (prevailing
       Central Time) on February 21, 2024.
       If you object to the relief requested or you believe that emergency consideration is not
       warranted, you must appear at the hearing if one is set, or file a written response prior to the
       date that relief is requested in the preceding paragraph. Otherwise, the Court may treat the
       pleading as unopposed and grant the relief requested.
       A hearing will be conducted on this matter on February 21, 2024, at 5:00 p.m. (prevailing
       Central Time) in Courtroom 404, 4th Floor, 515 Rusk Street, Houston, Texas 77002.
       Participation at the hearing will only be permitted by an audio and video connection.
       Audio communication will be by use of the Court’s dial-in facility. You may access the facility
       at (832) 917-1510. Once connected, you will be asked to enter the conference room number.
       Judge Isgur’s conference room number is 954554. Video communication will be by use of
       the GoToMeeting platform. Connect via the free GoToMeeting application or click the link
       on Judge Isgur’s homepage. The meeting code is “judgeisgur”. Click the settings icon in
       the upper right corner and enter your name under the personal information setting.
       Hearing appearances must be made electronically in advance of both electronic and in-person
       hearings. To make your appearance, click the “Electronic Appearance” link on Judge Isgur’s
       homepage. Select the case name, complete the required fields, and click “Submit” to complete
       your appearance.


       The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:

                                            Relief Requested

               The Debtors seek entry of an order, substantially in the form attached hereto

(the “Order”), (a) authorizing the Debtors to jointly administer their chapter 11 cases for

procedural purposes only and (b) granting related relief. The Debtors request that the United States

Bankruptcy Court for the Southern District of Texas (the “Court”) maintain one file and one docket

for all of the jointly administered cases under the case of Hornblower Holdings LLC, and that the

cases be administered under a consolidated caption, as follows:




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                          )
    In re:
                                                                          )     Chapter 11
                                                                          )
    HORNBLOWER HOLDINGS LLC, et al.,1
                                                                          )     Case No. 24-90061 (MI)
                                                                          )
                                        Debtors.                          )     (Jointly Administered)
                                                                          )

                   The Debtors further request that the Court order that the foregoing caption satisfies

the requirements set forth in section 342(c)(1) of title 11 of the United States Code, 11 U.S.C.

§§ 101 et seq. (the “Bankruptcy Code”). The Debtors also request that a docket entry, substantially

similar to the following, be entered on the docket of each of the Debtors, other than Hornblower

Holdings LLC, to reflect the joint administration of these chapter 11 cases: Case No. 24-90061

(MI).

               An order has been entered in accordance with Rule 1015(b) of the Federal Rules
               of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of Bankruptcy
               Practice and Procedure of the United States Bankruptcy Court for the Southern
               District of Texas directing joint administration of the chapter 11 cases of:
               Hornblower Holdings LLC, et al. Case No. 24-90061 (MI). All further
               pleadings and other papers shall be filed in and all further docket entries
               shall be made in Case No. 24-90061 (MI). The docket in Case No. 24-90061
               (MI) should be consulted for all matters affecting this case.

                                               Jurisdiction and Venue

                   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and the

Amended Standing Order of Reference from the United States District Court for the Southern



1
     The last four digits of Debtor Hornblower Holdings LLC’s tax identification number are 6035. Due to the large
     number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint administration, a
     complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided
     herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
     noticing agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service address for
     purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.



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District of Texas, dated May 24, 2012 (the “Amended Standing Order”). This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors confirm their consent to the

entry of a final order by the Court in connection with this Motion.

                Venue is proper pursuant to 28 U.S.C. § 1408.

                The statutory bases for the relief requested herein are sections 342 and 101(2) of

the Bankruptcy Code, rule 1015(b) of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and rules 1015-1 and 9013-1 of the Bankruptcy Local Rules for the

Southern District of Texas (the “Bankruptcy Local Rules”).

                                               Background

                On the date hereof, the Debtors filed voluntary petitions for relief under chapter 11

of the Bankruptcy Code. The Debtors are operating their businesses and managing their property

as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No

request for the appointment of a trustee or examiner has been made in these chapter 11 cases, and

no committees have been appointed or designated.

                A detailed description of the Debtors and their businesses, including the facts and

circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of

Jonathan Hickman, in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), filed substantially contemporaneously herewith and incorporated herein by

reference.2

                                             Basis for Relief

                Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may


2
    Capitalized terms used but not defined in this motion have the meanings ascribed to them in the First Day
    Declaration.



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order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors that

commenced these chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. See 11 U.S.C. § 101(2). Bankruptcy Local Rule 1015-1 provides for the joint

administration of related chapter 11 cases.

               In addition, section 105(a) of the Bankruptcy Code provides the Court with the

power to grant the relief requested herein by permitting the Court to “issue any order, process, or

judgment that is necessary or appropriate to carry out the provisions of the [Bankruptcy Code].”

11 U.S.C. § 105(a). Accordingly, the Bankruptcy Rules, the Bankruptcy Code, and the Bankruptcy

Local Rules authorize the Court to grant the relief requested herein.

               Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these chapter 11 cases will affect each of the Debtors. The

entry of an order directing joint administration of these chapter 11 cases will reduce fees and costs

by avoiding duplicative filings and objections. Joint administration will also allow the Office of

the United States Trustee for the Southern District of Texas and all parties in interest to monitor

these chapter 11 cases with greater ease and efficiency.

               Bankruptcy Rule 2002(n) provides that notices under Bankruptcy Rule 2002 shall

include certain information, including, without limitation, the tax identification number of each

Debtor and any other names used by the Debtor in the previous eight years. Fed. R. Bankr. P.

2002(n). All pleadings filed and each notice mailed by the Debtors will include a footnote

notifying parties in interest of the address of the Debtors’ headquarters and that a listing of all the

Debtors and the last four digits of their tax identification numbers are publicly available on a

website to be maintained by Omni Agent Solutions, Inc. (the “Debtors’ Restructuring Website”).




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Moreover, the full tax identification numbers, if applicable, and any other names used by the

Debtors in the past eight years will be listed in the petitions for each Debtor, and such petitions are

publicly available to all parties in interest, including on the Debtors’ Restructuring Website.

Therefore, the Debtors submit that the policies behind the requirements of Bankruptcy Rule

2002(n) have been satisfied.

                To the extent not satisfied or deemed satisfied, waiver of the requirements imposed

by section 342(c)(1) of the Bankruptcy Code or Bankruptcy Rule 2002(n) is warranted. Including

the Debtors’ tax identification numbers and other identifying information on each notice and

pleading would be unduly cumbersome, and may be confusing to parties in interest. More

importantly, waiver of such requirement is purely procedural in nature and will not affect the rights

of parties in interest.

                Further, Bankruptcy Local Rule 1015-1 details the information a debtor must

include in its request for joint administration. A motion and proposed order for joint administration

must “itemize the requested relief,” “be in the form published on the court’s website,” and “be

made to the judge with the lowest case number.” This motion and the Order satisfy these

requirements. To the extent that this motion or the Order are deemed not to comply with such rule,

the Debtors request a limited waiver.

                For the reasons set forth above, the Debtors respectfully submit that the relief

requested herein is in the best interests of the Debtors, their estates, their creditors, and other parties

in interest and, therefore, should be granted.

                                      Emergency Consideration

                Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this motion. As set forth above and in the First Day Declaration, the

Debtors believe an immediate and orderly transition into chapter 11 is critical to their ability to


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reorganize successfully, and that the immediate entry of an order providing for the joint

administration of these chapter 11 cases will maximize efficiency and minimize confusion in these

cases. Any delay in granting the relief requested would have the opposite effect and could cause

immediate and irreparable harm. Accordingly, the Debtors respectfully request that the Court

grant the requested relief on an emergency basis.

                                              Notice

               The Debtors will provide notice of this motion to the following parties or their

respective counsel: (a) the Office of the U.S. Trustee for the Southern District of Texas; (b) the

holders of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (c) counsel

to the Ad Hoc Group, Milbank LLP, 55 Hudson Yards, New York, NY 10001; (d) counsel to

Crestview, Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, NY 10017; (e)

counsel to the Senior DIP Lenders, White & Case LLP, 1221 Avenue of the Americas, New York,

NY 10020; (f) counsel to Alter Domus (US) LLC, as agent under the Superpriority Credit

Agreement, Norton Rose Fulbright US LLP, 1301 6th Avenue, New York, NY 10019; (g) counsel

to GLAS Trust Company LLC, as agent under the Senior DIP Facility, Seward & Kissel LLP, One

Battery Park Plaza, New York, NY 10004; (h) counsel to GLAS Trust Company LLC, as agent

under the Junior DIP Facility and under the First Lien Credit Agreement, ArentFox Schiff LLP,

1301 Avenue of the Americas, 42nd Floor, New York, NY 10019; (i) counsel to UBS AG,

Stamford Branch, as agent under the Revolving Credit Agreement, Cahill Gordon & Reindel LLP,

32 Old Slip, New York, NY 10005; (j) the United States Attorney’s Office for the Southern District

of Texas; (k) the Internal Revenue Service; (l) the United States Securities and Exchange

Commission; (m) the state attorneys general for states in which the Debtors conduct business; (n)

other regulatory agencies having a regulatory or statutory interest in these cases; and (o) any party

that has requested notice pursuant to Bankruptcy Rule 2002.


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               The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.

               A copy of this motion is available on (a) the Court’s website, at

www.txs.uscourts.gov, and (b) the website maintained by the Debtors’ proposed claims and

noticing agent, Omni Agent Solutions, Inc., at https://omniagentsolutions.com/Hornblower.

                           [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

relief requested herein and such other and further relief as the Court may deem appropriate under

the circumstances.

February 21, 2024                           Respectfully submitted,

                                            By: /s/ John F. Higgins
                                            PORTER HEDGES LLP
                                            John F. Higgins (TX Bar No. 09597500)
                                            M. Shane Johnson (TX Bar No. 24083263)
                                            Megan Young-John (TX Bar No. 24088700)
                                            1000 Main St., 36th Floor
                                            Houston, Texas 77002
                                            Telephone: (713) 226-6000
                                            Facsimile: (713) 226-6248
                                            jhiggins@porterhedges.com
                                            sjohnson@porterhedges.com
                                            myoung-john@porterhedges.com

                                            - and -

                                            PAUL, WEISS, RIFKIND, WHARTON &
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                                            Paul M. Basta (pending pro hac vice)
                                            Jacob A. Adlerstein (pending pro hac vice)
                                            Kyle J. Kimpler (pending pro hac vice)
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                                            New York, New York 10019
                                            Telephone: (212) 373-3000
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                                            jadlerstein@paulweiss.com
                                            kkimpler@paulweiss.com
                                            sharnett@paulweiss.com
                                            ndavanipour@paulweiss.com

                                            Proposed Counsel to the Debtors and
                                            the Debtors in Possession




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                                     Certificate of Accuracy

        I certify that the facts and circumstances described in the above pleading giving rise to the
emergency request for relief are true and correct to the best of my knowledge, information, and
belief. This statement is made pursuant to Bankruptcy Local Rule 9013-1(i).

                                                        /s/ Jonathan Hickman
                                                        Jonathan Hickman


                                      Certificate of Service

        I certify that on February 21, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                        /s/ John F. Higgins
                                                        John F. Higgins
